     MG ‐ Matt Gryder (TFO)                  MB ‐ Michael Benanti                IA‐ Inaudible

     JB ‐ Jeffery Blanton (SA)               UI‐ Unintelligible                  OV‐ Overlapping Voices

     UM ‐ Unknown Male                       OS ‐ Officer Shelton

     Asheville Police Department video of Michael Benanti on Nov. 25, 2015
     First section: 15:07:45 to 15:26:46

 1   Officer:                        I’m gonna turn you over to these gentlemen here, okay?

 2   MB:                             Thank you.

 3   JB:                             How are you doing, sir?

 4   MB:                             Mike Benanti. (Shaking SA Blanton’s hand)

 5   JB:                             Hey, Jeff Blanton.

 6   MG:                             Hi Mike, Matt Gryder. (Shaking TFO Gryder’s hand)

 7   (Door closes)

 8   JB:                             I assume you know who we are? We’re with the FBI. So is this guy
 9                                   here.

10   (Background noises)

11   MB:                             I assume that if you got this far to this room you’re FBI.

12   JB:                             So, uh, we, uh, we’d like to talk to you.

13   MB:                             Yeah, I see that. Very seriously you’d like to talk to me.

14   JB:                             Yeah‐

15   MB:                             Very, very seriously.

16   JB:                             Um‐ (TFO Gryder hands SA Blanton a sheet of paper)

17   MB:                             Those Miranda rights?

18   JB:                             It is. Has anybody read those to you yet?

19   MB:                             Just started but not really.

20   JB:                             Are you familiar with them?

21   MB:                             Absolutely.

22   JB:                             Ok.

23   MB:                             Um, I’m sorry what was the names again?

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24   MG:                   Matt

25   MB:                   Matt. Jeff and Matt. Jeff…You are the lead agents on whatever this is?

26   (Loud thump)

27   JB:                   Yes, sir, I believe so.

28   MB:                   Is there an indictment on me?

29   MG:                   No.

30   JB:                   Not right this minute.

31   MB:                   Ok, um, can we start a little informally before we speak about‐

32   JB:                   Yeah, I’m not going to do this right now. I was going to talk to you about
33                         some other stuff.

34   MB:                   I’m just going to tell you a little about me because you obviously have
35                         no fuckin idea who I am or maybe‐maybe learned on the way here.
36                         Those cops had no idea who I was. Was I targeted as an individual? Like,
37                         did you know who I was?

38   JB:                   I know a little bit about you.

39   MB:                   Ok. Well, um, 19‐years‐old I got into a lot of trouble, went away for a
40                         really long time. 16 years. Didn’t cooperate, didn’t tell on anybody,
41                         went to trial. Took my lumps. It was horrible. Half the shit was lies. Half
42                         of it was true. Could have did seven, been fine. Got out, opened my own
43                         companies. Was unemployable. Couldn’t get a job. Couldn’t get a job. It
44                         doesn’t matter how smart I was. Couldn’t get a job. The setup was just
45                         unbelievable. I run my own company and ummm…

46   JB:                   What kind of company is it?

47   MB:                   It helps prisoners with re‐entry and rehabilitation. I’m the CEO. I have 4
48                         or 5 employees, um, up until very recently I had a girlfriend…she killed
49                         herself.

50   JB:                   Oh, man.

51   MB:                   Just‐

52   JB:                   How long has that been?

53   MB:                   Two weeks.

54   JB:                   Oh‐

55   MG:                   I hate to hear that, man.



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 Case 3:15-cr-00177-TAV-DCP Document 46-2 Filed 05/20/16 Page 2 of 47 PageID #: 571
56   MB:                   Yeah, well, I’m not trying to get sympathy vote here. I’m just telling you
57                         how it is.

58   MG                    Where, where’d that happen?

59   MB:                   Where I live.

60   JB:                   Oh, man.

61   MB:                   Not in the house. She took a gun, she bought a gun and she went to the
62                         hotel room and shot herself.

63   JB:                   Goodness.

64   MB:                   It was horrific and, um, so I don’t know what you have on the plate but
65                         the last week I’ve been in the Bahamas spreading her ashes. Passport,
66                         everything. Um, I could surmise a lot about what you want. Ummm,
67                         Ummm…

68   JB:                   What is it that you think we want?

69   MB:                   That would – c’mon, bro.

70   JB:                   No, I mean, what (OV)…

71   MB:                   I, I want immunity agreement is what I want.

72   JB:                   We can’t give you immunity.

73   MB:                   Cause I only want (UI)(OV)…

74   JB:                   You know. Well who arrested you before? I forgot.

75   MB:                   (UI)

76   JB:                   No what agency was it?

77   MB:                   When I was a kid?

78   JB:                   All of them.

79   MB:                   FBI, DEA, ATF…they were all there. FBI took the lead and prosecuted.

80   JB:                   Where, where did you do your time?

81   MB:                   Lewisburg first stop, 19 years old.

82   JB:                   Right.

83   MB:                   Had no right to put me in a place like that. Second stop ADX, supermax.

84   JB:                   Right, then you know how our system works.

85   MB:                   I do.

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 Case 3:15-cr-00177-TAV-DCP Document 46-2 Filed 05/20/16 Page 3 of 47 PageID #: 572
 86   JB:                   We can’t, I can’t (OV)…I will tell you something that you don’t want to
 87                         hear before I tell you a lie. I can’t give you immunity but what I can do is
 88                         give you cooperation for the government.

 89   MB:                   Oh, in jail I’m, I’m really somebody. Won’t go back in prison, I’m
 90                         somebody big. I have a reputation. I can never walk in there that way. I
 91                         have to be guaranteed that I don’t walk in jail. I got to be out, if not I
 92                         really can’t say anything and the dice just have to roll the way that they
 93                         roll. I’m being honest with you. I believe it’s a great opportunity. Look, I
 94                         could tell you this, you don’t want me. (Chuckles) I can be the biggest
 95                         piece of shit. You can do your due diligence. I’m a decent guy and the
 96                         fact that I am sitting her just makes me sick. Um, we’ve had a lot of
 97                         problems running that company, government interference, including
 98                         FBI, the SEC , and…

 99   JB:                   Let me tell you what so far so you will know what we are going to do
100                         here. Highway Patrol is going to be charging you.

101   MB:                   What?

102   JB:                   The Highway Patrol here is going to charge you.

103   MB:                   With what?

104   JB:                   For, for being possession of a stolen car.

105   MB:                   You know that’s not, I have no knowledge of that. That’s not fair. He
106                         threw me outta the car, bro.

107   JB:                   Well‐

108   MB:                   He threw me out of the fucking car.

109   JB:                   You, you were still in possession of it. I mean that’s not what your buddy
110                         is saying.

111   MB:                   (Laughs loudly) What is your name again my friend?

112   JB:                   It’s Jeff.

113   MB:                   Steff?

114   JB:                   Jeff.

115   MB:                   Jeff, Jeff please we said that we’re going to be truthful (OV)…

116   JB:                   Well, I am‐

117   MB:                   My buddy is not saying anything like that.

118   JB:                   You’re both complicit.

119   MB:                   Right, but my buddy didn’t say a goddamn word.

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120   JB:                   No, he said you were both complicit.

121   MB:                   He certainly didn’t say that either.

122   JB:                   He said that…

123   MB:                   Let’s just be real. Come on.

124   JB:                   No, I’m telling you. He said‐

125   MB:                   If you want the truth out of me. You got, you got to be right.

126   JB:                   Ok, you got to listen to me.

127   MB:                   I will.

128   JB:                   He’s saying that whatever you did, he did, whenever he did, you did,
129                         basically.

130   MB:                   (Chuckles)

131   JB:                   Whatever. So whatever that means. To me, that means that you are
132                         both complicit, and the Highway Patrol is going charge you for it. So
133                         we’ll take your DNA. We’ll get major case prints from you.

134   MB:                   It’s all on record, you have it all.

135   JB:                   Then we’ll match it up with everything else we have.

136   MB:                   Ok.

137   JB:                   So that’s what we’re going to do.

138   MB:                   So I’ll go before a magistrate and get bailed out on, on, on‐

139   JB:                   On what you’re charged with, your stuff will be here. We may, we may
140                         talk to the US Attorney and, and, uh, ask him if he will charge you with
141                         transportation a stolen motor vehicle, because that vehicle came across
142                         state lines.

143   MB:                   But why, why are you…

144   JB:                   (Clears throat)

145   MB:                   You can look at my passport. I’ve been the Bahamas last week. I don’t
146                         know the time frame is.

147   JB:                   Wha, wha (OV)

148   MB:                   What makes you believe that you should be coming at me so hard?

149   JB:                   Wha, I’m just telling you that’s what we have right now.



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  Case 3:15-cr-00177-TAV-DCP Document 46-2 Filed 05/20/16 Page 5 of 47 PageID #: 574
150   MB:                   Right. But why do you think should detain me? Why is the FBI sitting
151                         here other than‐

152   JB:                   Do you have a, a valid ID?

153   MB:                   Yeah, not with me though.

154   JB:                   Well, see?

155   MB:                   But I gave him my information immediately. I cooperated immediately. I
156                         told him everything he, he needed to know. He watched me get thrown
157                         out of the car. He almost fucking ran me over.

158   JB:                   Your ID is not with you. Where is it?

159   MB:                   (Gestures)

160   JB:                   See? So see there’s… are a lot of reasons... a lot of reasons for us to
161                         keep you in jail.

162   MB:                   (Chuckles) But I am who I am and you know it. You can go to the
163                         websites and look at me.

164   JB:                   Well, there is a lot of reasons for us to keep you in jail.

165   MB:                   You can’t see your way of putting an immunity agreement on the table?

166   JB:                   Do what?

167   MB:                   You can’t see your way to put immunity, because I’d just love to tell you
168                         what you want to know and‐

169   JB:                   Partner, I don’t have the authority to give you immunity. And you know
170                         I don’t.

171   MB:                   But sure, you could work up the chain right now.

172   JB:                   The US Attorney’s office won’t give you immunity.

173   MB:                   Alright.

174   JB:                   They’ll prosecute you first.

175   MB:                   Really?

176   JB:                   Yes, sir. In the Eastern District of Tennessee will prosecute you first.

177   MB:                   Alright. I guess we gotta get to printing. It’s a shame, cause I just, uh‐

178   JB:                   Well, I mean the ball is in your court.

179   MB:                   Hmm?

180   JB:                   The ball is in your court.

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181   MB:                   You, you don’t have anything on me. And, and he’s not going to say
182                         anything. He’s in the situation that I am. He would die if he walked back
183                         into the prison cell.

184   JB:                   How’d you, uh, how’d you meet that fellow? Is he, through your
185                         company?

186   MB:                   You’re going to find out eventually, so I’ll tell you: I did time with him.

187   JB:                   Were you in the military?

188   MB:                   No.

189   MG:                   (Clears throat) What’s the other fellow’s name?

190   MB:                   No. I don’t even know if you have him in custody, bro. (UI) I don’t know
191                         anything.

192   MG:                   He’s in custody.

193   MB:                   I’m sure.

194   MG:                   I haven’t seen him yet.

195   MB:                   Yeah.

196   JB:                   Yeah.

197   MB:                   But I’m sure you’re going to get a similar situation, if he’s more talkative
198                         so who knows what he’ll say but, I wish that you could just see a way to
199                         get me a fucking plea agreement just, just let me tell you what I want to
200                         tell you. Just let (UI)…

201   JB:                   And then you tell me what you want to tell me.

202   MB:                   I can’t. I can’t do it that way.

203   JB:                   And‐

204   MB:                   I can’t step into a prison cell.

205   JB:                   Ok. Listen, listen to what I am going to tell you. Well, you’re going to
206                         have to tell us anyway. I mean whether you, what I am saying is that
207                         you have to go to prison anyway whether you tell us whether you don’t,
208                         so what difference does that make?

209   MB:                   I don’t believe I’m in the, I don’t believe I’m in a position right at this
210                         moment to go to prison.

211   JB:                   Ok. Alright.

212   MB:                   You believe otherwise?


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213   JB:                   mmhmmm

214   MB:                   Really?

215   JB:                   Yep.

216   MB:                   Alright, well‐

217   JB:                   Because you said that you’ve been catching some... Well, you know why
218                         we’re here.

219   MB:                   I don’t. I don’t, don’t really want to play the game.

220   JB:                   Yeah, I‐

221   MB:                   I could tell you what if you want, I can go back from the day I got out of
222                         prison and tell you everything that you guys, ask me any question, I’ll be
223                         completely honest with you.

224   JB:                   Yeah, let’s do that.

225   MB:                   No, with an immunity agreement. I’ll be honest and forthcoming, and
226                         that’s what I can offer you. Other than that, I could never go back to
227                         prison again (UI) somebody whether it accumulates in him getting a
228                         case or not or her or anybody. I just can’t roll that way. I, I you know, I
229                         know you don’t meet too many of me.

230   JB:                   What were you charges for?

231   MB:                   When I was a kid? (OV)

232   JB:                   (UI)

233   MB:                   Interstate transportation of goods and vehicles and freakin’ robbery and
234                         just, I was a kid. Stupid, I did my time.

235   JB:                   Why are you around all these people doing the same thing now?

236   MB:                   Like I said, you know, you’re asking you put immunity agreement, I’ll tell
237                         you (OV)…

238   JB:                   Are you on probation?

239   MB:                   No. Hell, no, I’m clean. Clean, clear…I’m clean clear…(OV)

240   JB:                   (UI) When did you get out of jail?

241   MB:                   8 years ago. I’m running my company. I was doing the right thing and
242                         (UI) really just overturned (UI). I would love to just…I know you know.
243                         You said you I don’t know what dreams you got. I’m sure it’s some of
244                         your shit’s true, some of it ain’t, I don’t know what you’re thinking but
245                         at the end of the day you probably think I’m really bad guy and you
246                         can’t let me go.

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247   JB:                   I’ve been doing this long enough to know I don’t think anything. I just
248                         collect facts and go about my business.

249   MB:                   Well, I’m pretty sure you’re not going to find a whole lot of facts to
250                         string together right here about me and like I said the only thing I got
251                         here is an immunity agreement. If you guys want immunity I can tell
252                         anything from the day that I got out of prison. I’m all for that and that’s
253                         against everything that I am. It’s just I am so beat down with my, my
254                         girlfriend dying and I’m just so beat down. I just don’t want to be here
255                         anymore. I don’t want to be anywhere near this kind of thing. I just
256                         want to go home to my family and just, just be with my sister and her
257                         kid and what not and if that’s not on the table today then I guess you
258                         know…

259   JB:                   Well, if you haven’t been here what could you tell us? (UI) If you haven’t
260                         been around what could you tell us?

261   MB:                   I don’t know about around here. I could tell you some things that I know
262                         between now and until the day I got out and now, and I would love to
263                         clear that.

264   JB:                   Involving, involving‐

265   MB:                   Involving, involving maybe you might be interested maybe you’re not, I
266                         don’t know and if you’re not then you don’t have a case anyway. It
267                         doesn’t matter.

268   JB:                   Oh, I am sure we, we would be interested in it but‐

269   MB:                   Just please go talk to somebody. Just go see who I am. Give me that
270                         immunity agreement and let me get just, just let me (OV)…

271   JB:                   (UI) we need to see who you are.

272   MB:                   I mean people see (OV)

273   MG:                   You got a record.

274   MB:                   Ok, well then that’s it.

275   JB:                   I mean‐

276   MB:                   I am just saying it’s who I am. I’m just saying, if you really just poked
277                         around, I’m not a bad guy.

278   JB:                   Well, I’m not accusing you of being a bad guy‐

279   MB:                   I don’t, I don’t want to be here. This is not my choice. I just can’t give
280                         you any information further than that because it’s just, I know I’ve been
281                         here and I believe you know I believe you’re sincere. I believe you could
282                         go to bat and give me the best deal possible for whatever the fuck I tell
283                         you but it, it gets strung so crazy after I say what I say and you know if

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284                           you string it together and I don’t know what happens. You know, I don’t
285                           know what it is. I don’t know what is on the other end of it. There’s a lot
286                           of missing pieces for me here today.

287    JB:                    What do you mean? Get strung…

288    MB:                    After you, after you take all your information and you do like this
289                           (gestures). I don’t know what comes out at the other end. You know I
290                           just, I’m a little blind here on some things. I’ll be very honest. I was
291                           surprised. Very surprised. I don’t know what that was today. I don’t
292                           know what was happening in that field. I don’t, it’s a little, it just doesn’t
293                           fill in, I have a lot of blanks and I am not the guy that usually has blanks
294                           so I’m, I’m out of my… I’m, I’m (UI) I don’t, I don’t know what we’re
295                           exactly talking about and I don’t even want to‐

296    JB:                    Did you fly into Asheville or where did you fly into when you went to the
297                           Bahamas?

298    MB:                    I flew home, to my home.

299    JB:                    How did you get down here?

300    MB:                    Again this is as far as I am willing to go.

301    JB:                    Well, I mean you got to give me something to work with here. (UI)

302    MB:                    But this is my name is Michael Benanti. I’m sincere‐

303    JB:                    That’s fine Michael but how did you get, did you drive down here? Did
304                           you fly down here? Did somebody come and get you?

305    MB:                    Yeah (UI)

306    JB:                    Because, I mean, you don’t wind up‐

307    MB:                    I don’t know where you’re going with this. The FBI doesn’t, you don’t
308                           get pulled over like that and get all tactical guns on your head and the
309                           FBI is here and nobody knows nothing and they bring you in a field, and
310                           there’s a bunch of ambulances and people hurt and something, I don’t
311                           know what happened and I don’t know what happened. I, I, I and so I
312                           can’t say anything to you because you‐you do really want to use
313                           everything to hurt me.

314    JB:                    No I, I, I, look I haven’t even…(OV)

315    MB:                    You do.

316    JB:                    …Mirandized you yet so anything you say can’t be used against you.

317    MB:                    But it will (Chuckles).

318    JB:                    No it can’t be by law, it can’t be.

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                                           579
319    MB:                    Listen, please just try to get me immunity agreement. That’s it.

320    JB:                    What (OV)…

321    MB:                    I can’t, I have to sign this paper other than that.

322    JB:                    What I am asking you is, what do you, you just don’t wind up in Maggie
323                           Valley, North Carolina by accident.

324    MB:                    Where?

325    JB:                    Well, this is Maggie Valley, Asheville, Canton. The place where you are
326                           staying is Maggie Valley. You know that, the cabin where you’re staying.

327    MB:                    Where I’m staying? I think you need to go check my passport. I just got
328                           back from the Bahamas. I was in the Bahamas for a, a week. I just got
329                           back.

330    JB:                    When?

331    MB:                    What is today? What day is this? Tuesday?

332    MG:                    Wednesday.

333    MB:                    Saturday?

334    JB:                    When did you come to North Carolina?

335    MB:                    Again I, I don’t know what you’re, I don’t know what happened here.
336                           What they, what happened? What d‐date did the thing happen? Can
337                           you give me that?

338    JB:                    No, listen I’m not gonna trick you‐

339    MB:                    Yeah you are. (OV)

340    JB:                    (OV)…

341    MB:                    I don’t, but I don’t know what that question means. Later on that, that
342                           could destroy an alibi for me. I’m cool, bro. I’m sorry.

343    JB:                    No, listen. You, you went to the Bahamas. You flew to Maryland then
344                           you came to North Carolina. (OV)

345    MB:                    I didn’t fly, I didn’t fly to Maryland. I don’t know where that, uh‐

346    JB:                    Well, you didn’t swim from the Bahamas to Maryland.

347    MB:                    I, who the hell said anything about Maryland?

348    MG:                    Pennsylvania.

349    JB:                    Pennsylvania, I’m sorry. Pennsylvania.


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                                           580
350    MB:                    Yeah

351    JB:                    The car was stolen from Maryland that’s what, that’s what it is.

352    MB:                    (Clears throat) I’ll sign the paper and we’ll go. If you don’t want to really
353                           hear what I have to say and I believe that, look if you believe that I am
354                           the kind of asshole that needs to be in jail then you need to not try to
355                           get me immunity and you need to do what you got to do. If you believe
356                           that I have any redeeming qualities and that I am sincere here and, and
357                           you just somebody needs a break sometimes in life.

358    JB:                    mmhmmm

359    MB:                    And I never did get that. I worked really hard. I tried to build everything
360                           I could. Everything I have is lost. I don’t really care what happens at this
361                           moment. I’m certainly not going to go back to prison being a fucking rat.
362                           Not in any chance. Not in any way. I run everything in there. It’s my
363                           place.

364    JB:                    Who…

365    MB:                    So. It’s not who. There’s nothing. There’s nothing…(OV)

366    JB:                    No, I’m just saying, no it’s a who. What, uh, how many years did you say
367                           you did in prison?

368    MB:                    16 years in one of the worst federal prisons there are and I rose to the
369                           top. No gangs. No tattoos. No nothing.

370    JB:                    Was that your first time? Your first offense?

371    MB:                    I did a little county jail time for some bullshit. Small burglary and then I
372                           got rocked.

373    JB:                    You got sentenced to Pennsylvania?

374    MB:                    Yeah, yeah. For a little county jail time like I said.

375    JB:                    No, I mean the federal court in Pennsylvania sentenced you?

376    MB:                    Yes, yes and I got fucking smashed and it’s because I didn’t cooperate,
377                           and it’s because I went to trial. I got fucking smashed.

378    JB:                    Oh, you went to trial? Yeah, yeah.

379    MB:                    Fucking right I did. So, they lie a lot, they want to just disrupt the truth
380                           give me fucking 6 to 7 years I had coming it would have been fine so you
381                           know. Just excuse my reluctance here. I just feel like this is huge. I never
382                           seen, even when they got me when I was a kid. It was ugly but it was
383                           nothing like today. Today you were ready for something. You were
384                           waiting for something or something happened and I have no idea what
385                           that is. So that leaves me with like, what the fuck?

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                                           581
386    JB:                    Well, if you don’t, if you don’t know what we’re here to talk to you
387                           about, then (OV)…

388    MB:                    I didn’t, I didn’t say anything like that. (OV)

389    JB:                    What’s the point in getting immunity?

390    MB:                    I’m saying whatever happened today. I don’t know what. I, I, I‘m missing
391                           a piece. Let’s assume I just got here recently. I don’t know what had
392                           happened with, with that car or with that individual in it so that’s the
393                           truth ummm and you only get two things from me. The truth or nothing
394                           and that’s how I roll. You can call any prison guard, any lieutenant, any
395                           fucking captain, the ADX special services, all of them. That’s who I am.
396                           It’s the real deal. I’m unique and, um, so if something happened here, if
397                           you want to put something on the table and tell me something
398                           happened here in the last two weeks and you’re trying to put that on
399                           me, I would be very happy to tell you why that’s not me but if you…(OV)

400    JB:                    Yeah, I’m not doing that. I’m not trying to put anything on you the past
401                           two weeks.

402    MB:                    (UI) Bro, like I said, if you believe I’m worth saving, then you go to bat
403                           for me and you go to the US Attorney and say hey let’s hear what he has
404                           to say. I don’t what you have, I don’t know what you think you string
405                           together. I don’t know what case you got.

406    JB:                    You got any questions Matt?

407    MG:                    Yeah. Could you spell your last name for me?

408    MB:                    (Chuckles) sure. Benanti

409    MG:                    And your birthday?

410    MB:                    5‐13‐72

411    MG:                    And your social security number?

412    MG:                    144‐80‐4443

413    MB:                    And may I have a phone call please?

414    JB:                    That’s not up to us. We’ll ask these guys‐

415    MB:                    What they’re going to try to do is tell me I have to go to the county jail
416                           and make that call and the last date and I can’t make that call.

417    JB:                    I’ll, I’ll ask them for you, partner. We don’t have any control‐

418    MB:                    But you have me under custody. You, you heard him when he walked
419                           and he said I’m in your custody now.



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420    JB:                            Well, you’re in the custody of the Highway Patrol, not us, yet. North
421                                   Carolina highway patrol is the one that is going to arrest you.

422    MB:                            Right, but you’re going to ask him to arrest me.

423    JB:                            No.

424    MB:                            Yeah.

425    JB:                            No, no, no we’re not.

426    MB:                            You know what, I, I didn’t do anything arrestable today. I cooperated. I
427                                   didn’t do anything arrestable today but I understand and I’m going to go
428                                   for bail and you’re going to try to block it or whatever. I just don’t
429                                   understand why you why, why‐

430    JB:                            You need anything else Matt? What’s your home address?

431    MB:                            410 Mountain Woods Drive, Lake Harmony, PA 18624

432    MG:                            Do you have a telephone number?

433    MB:                            570‐216‐2698

434    MG:                            Thank you.

435    JB:                            What’s the name of your business Mike?

436    MB:                            Prisoner Assistant.

437    JB:                            Prisoner Assistant. And that’s in Lake Harmony as well?

438    MB:                            Yeah. So are you guys gonna go to bat to try to help me?

439    (snapping sound)

440    JB:                            (UI) to do.

441    MB:                            You know what you know. I don’t know what you know. What’s the
442                                   difference? I didn’t kill nobody.

443    JB:                            I’m going to go talk these guys about making a phone call.

444    (Door opens)

445    JB:                            Ready?

446    MG:                            Yeah.

447    JB:                            Alright, man. Hold tight.

448    (Door shuts)

449    15:26:46 **End of First Section**

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450    Second section starts at 16:00:30 to 17:01:55

451    (Door opens)

452    JB:                            Alright, Mike.

453    MB:                            Oh, you guys are back, I thought we were ‐

454    JB:                            I told you we’d be back.

455    MB:                            You said I was getting arrested with the police.

456    JB:                            Oh you are. (Clears throat) I went and talked to the US Attorney.

457    MB:                            You got it.

458    JB:                            No. (UI) no.

459    MB:                            Man why can’t you just do that for me? Guess I’m…

460    JB:                            Well, you are going to be charged possibly it looks like here. We’re
461                                   talking to the US Attorney’s office here with that stolen car.

462    (Ringing sound)

463    MB:                            That’s not fair. You guys know that. I mean just play the game fair, man.
464                                   That’s all I ask. Just play the game fair. Alright so, whatever it’s a stolen
465                                   car.

466    JB (to MG):                    Will you text Rory and ask him to take care of that? If you don’t mind.

467    MB:                            (Sighs) I’m sorry, what was your‐ (UI)

468    JB:                            Matt, Jeff.

469    MB:                            You think this would be easy, right?

470    JB:                            mmhmmm

471    MB:                            Matt and Jeff. No, no immunity huh?

472    JB:                            Nope.

473    MB:                            Not even with any understanding of what I have to say?

474    JB:                            Well, we’d like to hear what you have to say but I can’t offer you
475                                   immunity up front. We can, we can let the judge know you cooperated
476                                   and ask for downward departure from the back end. You know how that
477                                   works.

478    MB:                            That’s meaningless.

479    JB:                            Well, no it’s not. Not when, if, listen if you can get to a point (OV)…


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480    MB:                      I’m category, I’m category 6, bro, whatever you do to me.

481    JB:                      Well, that’s not true.

482    MB:                      Yes, it is. Whatever you do to me is 15‐20‐30‐40‐50 years.

483    JB:                      Well, I was going to say you might, you know, even if you’re looking at
484                             life you could cooperate and help bring that down.

485    MB:                      No, thank you. Do your, do your best. I tried. I tried to sit here and I
486                             tried to, you just ‐

487    JB:                      Now I can’t give you immunity partner. I can’t do it. I just can’t do it. No
488                             way.

489    MB:                      I know. I hear you. So, rather than have me rush to be bailed out with
490                             whatever ‐

491    JB:                      Yeah. I wouldn’t do that if I were you.

492    MB:                      Why? Do what you’re going to do. Why don’t you just put the real
493                             charges on me?

494    JB:                      Oh, I’m going to, but I mean you don’t want waste your money on a
495                             bondsmen and get a hold put on you.

496    MB:                      So what are the charges that will forthcoming?

497    JB:                      The Highway Patrol is charging you with a possession of a stolen vehicle.

498    MB:                      The Highway Patrol is charging me with that, right?

499    JB:                      mmhmm

500    MB:                      Which would be nothing and of course you’re going to tell the judge to
501                             give me a bail that can’t be, you’re going to wait ‐

502    JB:                      I’m not going to speak to the judge. I’m not going to speak to him but
503                             then we’re going to go petition the United States Magistrate and ask for
504                             a Criminal Complaint Warrant for, uh, interstate transportation of a
505                             stolen vehicle. Alright? So that’s what we are going to charge you with
506                             for the time being.

507    MB:                      Interstate transportation of a vehicle, and is that like a no bail offense in
508                             the Feds?

509    JB:                      I doubt if you’ll make bond. (UI) I don’t know anything about the judges
510                             over here in Asheville. We came from Tennessee. We came all the way
511                             from Tennessee just to see you and you, you, uh, won’t talk to us.

512    (Phone starts ringing)

513    MB:                      But you why. I am willing to give you whatever that may be.

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                                           585
514    JB:                    (answering phone) Hey, Mick.

515    MB:                    It’s just on the back end you are guys are trying to put me in jail forever.
516                           It’s forever. Anything I go to jail for is forever. I don’t care what it is.

517    MG:                    Yeah, that’s not true.

518    MB:                    Bro, it is. (Chuckles) It’s true. I know my, I, I know it, I’ve been there. Do
519                           you know how many legal cases I, I, I, I’ve played with and what not?

520    MG:                    I’m telling you that’s not true, from my experience it is not true.

521    JB:                    (UI) Yes, yes. (JB still on the phone)

522    MB:                    Can you keep me out of jail?

523    MG:                    I can tell you (OV)…

524    JB:                    I am not in a position where I can talk to you right now but I am

525    MB:                    I’m telling you right now. I believe you’re going to have a hard time (UI)
526                           best chance ‐

527    JB:                    I don’t, I don’t think so (OV)….for a few minutes. I don’t, I don’t, I don’t
528                           think so but I’ll call you in just a few minutes.

529    MB:                    I don’t know, you know, there might be timetables that are (OV)

530    JB:                    (UI)(OV)

531    MG:                    Uh, you were caught with a stolen car. I’m not sure how hard of a time
532                           we’re going to have with that.

533    JB:                    (clears his throat)

534    MB:                    No, that’s not what I’m talking about. I’m just talking about the end
535                           game here. I’m just trying to get to the end game. I don’t really want to
536                           talk about the specifics but ‐

537    JB:                    I’ll be honest with you. I don’t care if you go to jail not. I don’t care if
538                           you don’t do 5 minutes in jail. If you, if you walk out of this room it’s not
539                           going to hurt my feelings. All I care about is the truth. Now, I can’t give
540                           you immunity. That’s the truth. The US Attorney’s Office, we called
541                           them, they’re not going to give you immunity. That’s the truth.

542    MB:                    Can you make sure that there is no jail time?

543    JB:                    (Chuckles) I could say yes to you but it’d be a lie.

544    MB:                    Yeah, I’d want it in writing.

545    JB:                    Because I can’t do that. You’ve been to federal prison. You know how it
546                           works.

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547    MB:                    So, so what happens is you’re going to put this on me too late. I’m not
548                           going to be able to bail out today.

549    JB:                    No ‐

550    MB:                    You’re going today to get the, uh ‐

551    JB:                    Nobody knows what time you’re going to get it except the man wearing
552                           the black robe. You know that. That’s how our system works.

553    MB:                    That’s not true.

554    JB:                    No, it is true.

555    MB:                    Do you really believe that?

556    JB:                    Unless you want to sign a plea agreement.

557    MB:                    The, the only thing that, the only thing ‐

558    JB:                    (UI)

559    MB:                    that dictates that is the prosecutor –

560    JB:                    No –

561    MB:                    ‐ and how aggressively he wants to fight for it.

562    JB:                    No.

563    MB:                    Absolutely.

564    JB:                    No, I don’t know what you’ve been reading but that’s not true.

565    MB:                    I ain’t been reading it. I watched it.

566    JB:                    It’s just not true.

567    MB:                    I watched it happen.

568    JB:                    (Clears throat) If you want to, uh, if you want to sign, sign a bill of
569                           information we could go that route.

570    MB:                    I don’t know what that means.

571    JB:                    That means that you just say yep this is, this is what I want to tell. This is
572                           what I’ve done. You give up your part in everything is well.

573    MB:                    I’m willing to do that under an immunity agreement.

574    JB:                    No.

575    MB:                    It’s not that much that I’ve done but you guys are going to twist this
576                           into, uh, a, a nasty pretzel. I can see it.

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577    JB:                    I’m not, I’m not twisting anything partner.

578    MB:                    No, you don’t know it yet. You don’t even know what you don’t know
579                           yet.

580    JB:                    You’re right. I don’t.

581    MB:                    I know –

582    JB:                    I don’t know what I don’t know.

583    MB:                    (UI) You’re going to be back here going, I need to talk to that guy. (OV)

584    JB:                    What did you have in that bag when you jumped out of that car?

585    MB:                    Just regular stuff, nothing major.

586    JB:                    Yeah, yeah, I, I know.

587    MB:                    There’s nothing in that bag that’s, that’s, that’s bad.

588    JB:                    Well, then give us consent to search that bag.

589    MB:                    Don’t put the Magistrate block on me.

590    JB:                    Well, I can’t. I can’t (OV)

591    MB:                    Well, what do you want? You want you’re asking for these but you don’t
592                           want to give up nothing. You just want to sit here and slam me into this
593                           little thing.

594    JB:                    And you have a piece of paper on you right there.

595    MB:                    I don’t know nothing. I don’t know what you’re talking about.

596    JB:                    mmhmm, exactly

597    MG:                    The troopers took this out of your hands. You can’t say you didn’t have
598                           it.

599    MB:                    (UI)

600    MG:                    I mean you could say that but –

601    MB:                    I’m not saying that ‐

602    MG:                    ‐ they took it out of your hands. (OV)

603    MB:                    Up to this point. I have been completely cooperative and I’m offering to
604                           cooperate with you guys. You just can’t sit ‐ I don’t even know what the
605                           fuck exactly you’re here for and for me to sit down and tell you what,
606                           what, I just, listen, I’ve had a rough past since I’ve been out in 2008 and



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607                           there’s probably a lot of shit between there and here that I would love
608                           to just get off my chest.

609    JB:                    Well, get it off your chest.

610    MB:                    But I can’t.

611    JB:                    We’re going to charge you with the robberies, eventually.

612    MB:                    What are you going to charge me with?

613    JB:                    We’re going to charge you with these robberies. Those banks you were
614                           casing.

615    MB:                    So that’s what this is about. Good luck. Very good. I understand. I just
616                           wanna get it done, bro. I can’t go to prison as a rat. I can’t.

617    JB:                    So you know what I’m talking about?

618    MB:                    I can’t. I don’t know what you’re talking about.

619    JB:                    Ok.

620    MB:                    But I’d love to give you my story from the day that I got out until now.
621                           I’d love to and if you feel ‐

622    JB:                    So you’ll give us consent to search that bag or do you want me to go ask
623                           for a search warrant?

624    MB:                    The bag was found. It’s not my bag.

625    JB:                    Ok. (Clears throat) The Trooper is waiting to take you to jail.

626    MB:                    Yeah.

627    JB:                    Ummm

628    MB:                    But, no, I don’t give you consent just because ‐

629    JB:                    Ok.

630    MB:                    But I will tell you there’s nothing in the bag.

631    JB:                    Ok, that’s fine.

632    MB:                    There’s nothing major, there’s nothing in the bag. There’s nothing like,
633                           it’s, uh ‐

634    JB:                    Well, since you don’t want to talk to us, that’s fine. I’m not, I’m not
635                           going to read your rights to you because I’m not going to ask anything.
636                           Ok?




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637    MB:                    Ok. Listen if, if at some point during your investigation, you feel that
638                           there’s a way ‐ you know where I’m at. If, if you feel that there’s a way
639                           just to save my life.

640    JB:                    I, I can’t give you immunity partner. I can’t do it. (snapping sounds)

641    MB:                    Well, you ain’t down the road yet. You don’t even know what you are
642                           looking at so, when you get down the road ‐

643    JB:                    Let me ask you this, can you solve a murder?

644    MB:                    No. Give you goddamn fucking, give you more shit than you need to
645                           know, it’s not a murder. I can’t put (UI) knowledge, direct knowledge of
646                           a murder, but I know a lot of people.

647    MG:                    What, what could you solve so we can offer it to the United States
648                           Attorney’s Office?

649    MB:                    Just take the step below murder and add anything you want in there
650                           down. I just ‐

651    MG:                    What is the step below murder?

652    MB:                    In, in the book. Everything that falls below murder right below murder.
653                           Call it what you like, there’s a, there’s a billion charges right below it. I
654                           just don’t ‐ serious crimes. Serious people. Serious, I’m connected, I
655                           mean, you know, I’ll even, I just…(OV)

656    JB:                    Which family are you connected with then?

657    MB:                    I didn’t mean connected like that. I just mean I know a lot of people.

658    JB:                    Mmhm.

659    MB:                    A really lot of people. I’m willing to help you guys. I’m willing to put,
660                           listen you got, I’m willing to work under cover for you. I just want my life
661                           back man. I’ve been, I’ve been pushed around and abused since the day
662                           that I got out. It’s been very hard.

663    JB:                    We’ve been real nice to you, we haven’t ‐

664    MB:                    You’ve been great. No, not you guys.

665    JB:                    I’m just telling you (OV)

666    MB:                    My life has been. I just, I can’t, I’m not going back to jail one way or the
667                           other. It’s just, I’m just not doing it. I’m not doing it. That’s it, I don’t
668                           give a fuck, it ain’t happening, you know and, and, uh, it’s cool. I’m, I’m
669                           good.

670    JB:                    Well, if you don’t want to go to jail‐



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671    MB:                    Do you understand, 5 minutes (OV) no this is not it yet. You don’t know
672                           what it is yet. You’re going to know later but you know. I’m offering it to
673                           you right now but I wish you would just let me go.

674    JB:                    I can’t get you to tell me how you got here from Pennsylvania.

675    MB:                    I want you to just put an immunity agreement on the table and I will tell
676                           you anything you want to know.

677    JB:                    Ok ‐

678    MB:                    If, I’m not honest with you, I mean, what you are saying (UI) high level
679                           crimes ‐

680    JB:                    It’s a felony to lie to us anyway.

681    MB:                    Yeah, but that doesn’t mean anything when you’re, you’re looking at
682                           this.

683    JB:                    No I’m just saying ‐

684    MB:                    You’re trying to put me in jail for the rest of my life. You just said some
685                           shit that means the rest of my life. Any plea bargain here, you got to
686                           understand, that any plea bargain for, for me, at this point, means
687                           nothing. It means 20 years, it means nothing. I’m 43 years old. I’m not
688                           that fool. If I got to go back, at least I got to go back being me.

689    JB:                    Well ‐

690    MB:                    However, however that is.

691    JB:                    What if you cooperated enough to not do that?

692    (Someone coughs)

693    MB:                    But, I’m willing to, I’m willing to wear, I’m willing to wear wires. I willing
694                           to go wherever you want to do. You got cases in, wherever the hell you
695                           want I’ll do it. I’ll give you a period of 6 months I’ll work for you,
696                           whatever. I just want (cough) my life back. I just want this over. But,
697                           apparently you know‐

698    JB:                    I can’t, I can’t do it. I’ve talked to the man on the phone. He’s not going
699                           to give you immunity. He’s just not going to do it. Because you know
700                           how we work. We’re slow. We’re methodical. We’ll put it all together.

701    MB:                    Yeah (Zipping sounds). It’s really shitty that you’re going to block me
702                           from getting out for Thanksgiving.

703    JB:                    I didn’t say I was going to block you.

704    MB:                    Well, you did ‐



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705    JB:                    What I said was… (OV)

706    MB:                    You’re going to go file an information.

707    JB:                    …we’re going to ask for a criminal complaint against you, and the judge
708                           could tell us no.

709    MB:                    Can’t you just let me go home and say goodbye to my family. I mean
710                           god.

711    JB:                    I can’t turn you loose partner.

712    MB:                    What?

713    JB:                    I can’t turn you loose. The Highway Patrol has you charged. I don’t know
714                           what your state of mind would be, if any. No, I just talked to the US
715                           Attorney’s Office. They’re going to seek a criminal complaint against
716                           you.

717    MB:                    For interstate transportation?

718    JB:                    ITSMV. Cause, you know how ‐

719    MB:                    I wasn’t driving that.

720    JB:                    You don’t have to be driving.

721    MB:                    There’s going to be a point where I’m not going to be able to say
722                           anything. Things are moving.

723    JB:                    You need to talk while you can.

724    MB:                    Things are moving and they’re going to continue to move. This is worth
725                           a shot here.

726    JB:                    Yeah.

727    MB:                    Then why don’t you let me just go home and say goodbye to my family?
728                           Goddamn it man. Why do you have to fucking go after the Fed thing?
729                           Why can’t you just let me bail out? You know who I am. You know who I
730                           am. You know where to get me any day of the week.

731    JB:                    Do you know how many people that we look for that we know who they
732                           are?

733    MB:                    What?

734    JB:                    Do you know how many people we have to track down that we know
735                           who they are?

736    MB:                    I’ll put a bracelet on man. Just let me go home for Thanksgiving and say
737                           goodbye. Goddamn it man. What’s about to happen is fucking ‐ I’m
738                           going to sit here and just the shut the fuck up and they’re all probably

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739                           going to do whatever they do. They’re going to lie and tell and do
740                           whatever they do. I don’t care. I know this: I’m the least culpable. I can
741                           tell you that.

742    JB:                    Yeah.

743    MB:                    I didn’t do nothing.

744    JB:                    You are culpable. I, I agree with that. That’s the truth.

745    MB:                    Least. Least culpable, my man.

746    JB:                    Let me ask you this. Let me ask you this again. I can’t offer you
747                           immunity. Listen to me, ok. This is the best, this the best that we can do
748                           for you. The best. The state charges you with what the state is going to
749                           charge you with and I ask the US Attorney instead of seeking a warrant
750                           and complaint to come back later with a grand jury indictment. That,
751                           that means that you might be able to make bond with your state
752                           charges but you got to stay in touch with us.

753    (Phone rings)

754    MB:                    What does that require from me?

755    JB:                    You got to be honest with us right now and then you could, uh (answers
756                           the phone). Hey, Greg.

757    MG:                    You can go home and see your family for Thanksgiving if you bond out
758                           on these state charges, which I am sure that they’ll give you a bond. I
759                           mean it’s not that big of a deal.

760    MB:                    Are you half being straight, my man?

761    MG:                    If he told you (UI) – we’re not gonna come in here and lie to you.

762    MB:                    Fucking A.

763    JB:                    Yes (on the phone)

764    MB:                    I’m not, listen, if you make this, you’re asking them to charge me. They
765                           wouldn’t charge me. They wouldn’t charge me if you wouldn’t ask them.
766                           I can’t, I’m not going to go home for Thanksgiving.

767    JB:                    OK (on the phone)

768    MB:                    I know what time it is. I’m not going to be able to get the bail done by
769                           then. I have $1500 in my pocket. Why don’t you go up to the Magistrate
770                           with me and just ask for an OR?

771    MG:                    I can’t do that.

772    JB:                    (on phone) I was just talking with Mr. Benanti –


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773    MG:                    We’re prohibited from doing that.

774    JB:                    ‐ and I told him that’s the best that we can, we can do for him is, is that
775                           (UI) ‐

776    MG:                    (UI) We can’t ask for any favors from judicial officials.

777    JB:                    ‐ let the state (UI)

778    MB:                    It’s not a favor, it’s just, it’s just a recommendation. You can do that all
779                           day long. Prosecutors do that all day long.

780    JB:                    ‐ any charges we bring against him ‐

781    MG:                    But I’m not the prosecutor.

782    JB:                    ‐ waived to the grand jury instead of seeking a criminal complaint
783                           warrant ‐

784    MB:                    I’m not going to be home for Thanksgiving, man.

785    JB:                    Uh (UI) (OV)

786    MB:                    I just wanna get this process (UI) Thanksgiving, man.

787    JB:                    Ok ‐

788    MG:                    Pennsylvania, is that where your family is?

789    MB:                    No (UI) ‐

790    JB:                    (still on phone) – said he would just like to see his family before he goes
791                           to jail ‐

792    MB:                    I didn’t say I was gonna go to jail. I said before we, we hash this thing
793                           out. Listen, I’m being as straight as possible.

794    JB:                    (still on phone) Ok, exactly ‐

795    MB:                    Put a bracelet on me.

796    JB:                    (still on phone) Alright, yeah, I talked to Mick, I’ll call him when he’s
797                           done. Ok, thanks, Greg.

798    MB:                    Fuck man, don’t you (UI) deserves a fucking break?

799    JB:                    Ok, that was the US Attorney.

800    MB:                    Can I talk to him?

801    JB:                    No, he just hung up.

802    MB:                    I know, but you can call him back.


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803    JB:                    (Clears throat) I’ll tell you what he said. He said that what, what we just
804                           talked about, he doesn’t have a problem with it. If you’re willing to tell
805                           us everything, the truth about everything right now, then he doesn’t
806                           have a problem not seeking a criminal complaint against you for ITSMV
807                           and then let this other stuff hash out as it hashes out.

808    MB:                    No matter what I tell you. Are you fucking shitting me?

809    JB:                    What do you mean no matter what you tell?

810    MB:                    (Zipper sound) Obviously I’m going, I’m going to be telling it from my
811                           perspective.

812    JB:                    Sure.

813    MB:                    So, therefore there’s going to be some, you know, you’re going (OV)

814    JB:                    You’re saying you’re going to incriminate yourself.

815    MB:                    Absolutely!

816    JB:                    Well, sure. I mean at some point you’re going to have to answer if
817                           there’s anything you’ve done wrong.

818    MB:                    Really, at some point I just got to be quiet and go to jail. (OV)

819    JB:                    Ok (OV)

820    MB:                    Can I ‐ I don’t understand how I’m going home for Thanksgiving here.

821    JB:                    Well, if we don’t charge you…(OV)

822    MB:                    Just tell me how I’m going come home for Thanksgiving. (OV)

823    JB:                    Listen if we don’t charge you with criminal complaint and a warrant
824                           today then the state charges you. You could make a bond on that. They
825                           have Magistrates that work 24/7 in the state of North Carolina.

826    MB:                    When will you be charging me?

827    JB:                    A lot of that’s going depend on, on you.

828    MB:                    On what? What I have to say?

829    JB:                    Yeah, on what you have to say and the amount of cooperation you put
830                           forth.

831    MB:                    Let’s just (UI) let’s just put it forth that whatever you’re thinking it’s
832                           worse and, and, um, I’m going to put forth 100% cooperation. I mean, I
833                           know enough to string enough together but it’s, it’s ‐

834    JB:                    I don’t want strung, strung together. I just want the truth.


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835    MB:                    You’re going to get the truth but you’re going to be able to see a picture
836                           after I paint it.

837    JB:                    Well, paint that picture and give me, give me a reason to go for bat for
838                           you Mr. Benanti.

839    MB:                    Only after I speak with you, after I speak with you, you’re not going to
840                           go to bat for me.

841    JB:                    You don’t know that.

842    MB:                    I do.

843    JB:                    No, you don’t.

844    MB:                    Give it to me in writing, man.

845    MG:                    I, I personally have went to bat for people a lot worse than you.

846    JB:                    Ok, I’ll tell you this.

847    MB:                    I’m a big guy but when you look at me on paper, it’s fucking horrible. I’m
848                           trying. (OV)

849    JB:                    Hey you know, you know that what we’re saying now is being recorded?

850    MB:                    Do what?

851    JB:                    What we are saying in this room, is being recorded. You understand
852                           that.

853    MB:                    No, I didn’t, nobody told me that.

854    JB:                    Well, I just told you that. I will go to bat for you if you give us enough to
855                           go to bat for you but I can’t go in with nothing and say this man has
856                           done this. So I’m not lying to you. Everything that I’m saying is being
857                           documented as we speak.

858    MB:                    I can’t get bailed out tonight.

859    JB:                    (Clears throat) I don’t know if you can or not.

860    MB:                    I can’t, it’s not the amount of the cash. I have $1,500 on my person.

861    JB:                    I don’t know what your bond would be.

862    MB:                    No it’s going to be whatever (UI) bail bondsman. I’m not going to be
863                           home for tomorrow.

864    JB:                    But a bailsman is going to turn you loose if you get a bail bondsman
865                           then you’ll get out tonight.

866    MG:                    This is basically your only chance at getting out.

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                                           596
867    JB:                    Yeah.

868    MG:                    And getting home for Thanksgiving

869    JB:                    (Clears throat)

870    MG:                    Ok? But you know we can’t say you’ll be home in time for Thanksgiving
871                           dinner but we can say that there’s absolutely no chance if we get a
872                           criminal complaint for you.

873    MB:                    The other dude you have’s not going to say a fucking word, and it’s all
874                           going to crumble out under you and the only person who’s going to
875                           suffer the most here is me because I’m going to sit here and shut the
876                           fuck up.

877    JB:                    Then don’t do that.

878    MB:                    What?

879    JB:                    Then don’t do that.

880    MB:                    (UI) (OV) Why do you have to arrest me today? You don’t have to
881                           (OV)…but you’re directing the Highway Patrol to do that.

882    JB:                    No, I’m not partner. I can’t direct the Highway Patrol to do anything.
883                           They’ll tell me to pound sand. This is not even my state. I don’t even
884                           work here. We came from Tennessee to here.

885    MB:                    I’m sorry.

886    JB:                    And the Highway Patrol is going to do what the Highway Patrol does.

887    MB:                    You know they watched me get thrown out of the car. I literally got
888                           thrown out of the fucking car. I was off balance. I fucking literally kicked
889                           the fuck out of the car.

890    JB:                    Well, then tell me about the car. I mean you got to give a reason not to
891                           arrest you. You got to give them tell me where the car came from. Who
892                           stole it because I know you know those things (clearing throat sound)
893                           but you got to give us something if not then you’re going to have to eat
894                           it. You and your buddy both are aware that possession of a stolen
895                           vehicle. You’re both staying up here in the state of North Carolina, you
896                           both possessed it.

897    MB:                    You and I both know once I get in a courtroom I’ll crush that thing. It’s
898                           not a charge. It’s nothing. It’s garbage.

899    JB:                    (UI) in this state for a long time ‐

900    MB:                    Huh?

901    JB:                    I worked in this state for a long time.

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902    MB:                    You’ll know (UI) you’ll never get that, never get that from the state of
903                           Pennsylvania.

904    JB:                    We’re not in Pennsylvania. (Shuffling of papers)

905    MB:                    Never anywhere.

906    JB:                    Ok.

907    MB:                    You have to prove I knew it and I didn’t. Huh, well, let’s, let’s not make
908                           statements here let’s recant that and let’s move forward into (UI) can’t
909                           help me.

910    JB:                    So do you want to talk to us or not?

911    MG:                    Yep Jeff, Jeff.

912    MB:                    Jeff and Matt. No, I can’t, Jeff and Matt.

913    JB:                    Ok (Snapping noise)

914    MB:                    If you could both be walking out that door right now…

915    JB:                    I can’t promise you that.

916    MB:                    Ok

917    JB:                    I told you, I’ll tell you what you don’t want to hear before I lie to you.
918                           (OV)

919    MB:                    I’ve been down here you can. You could bring, you could bring Mr.
920                           Reynolds right in here right now. Bring him in. He’s the Highway Patrol.
921                           He’s the one that arrested me.

922    JB:                    Oh, he’s not here. He’s over at the courthouse.

923    MB:                    Filing my shit?

924    MG:                    Yeah.

925    MB:                    (Sighs)

926    JB:                    Yeah he’s been gone for a long time.

927    MB:                    You know, I understand your job but I detest to the fact the way you
928                           have to, you know, squeeze people to get it, to get what you need. (UI)
929                           Best of luck gentlemen.

930    JB:                    Good luck to you. We’ll talk again sometime.

931    MB:                    Yeah.




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932    JB:                    Alright so you want us to go ahead with the criminal complaint is what
933                           you’re saying? Make sure that I understand before I leave.

934    MB:                    You just don’t understand, me being arrested. I’ve built I’ve out
935                           everything I have, me and my girlfriend put everything we had to build
936                           that company. If you put a complaint against me I’m dead. It’s over.

937    JB:                    The company, you mean your company?

938    MB:                    Yeah. It’s over.

939    JB:                    It may be. That’s why that offer is there.

940    MB:                    You just I can’t get (UI) down off of anything. You’re offering me a
941                           criminal complaint. You’re offering not that the arrest any arrest right
942                           now.

943    JB:                    No (UI). Yeah

944    MB:                    Destroys me.

945    JB:                    You’re going to be arrested by the Highway Patrol.

946    MB:                    Then I’ll just have to ‐

947    JB:                    Why are running with these guys that you know are criminals if you
948                           didn’t want to go to jail?

949    MB:                    Am I not a criminal?

950    JB:                    Well, you were. Are you still one now?

951    MB:                    I’m trying like a mother fucker to be fucking right. You know, your
952                           system is broken. It doesn’t offer, it doesn’t offer the right opp‐ doesn’t
953                           offer the right things.

954    JB:                    Yeah, there’s, there’s some there’s probably some flaws in it but it’s the
955                           one that you have to work with.

956    MB:                    I mean I, I, I have one counter to put the immunity back on the table. Ok
957                           and listen to this.

958    JB:                    Ok.

959    MB:                    And your boy should call Washington because I know you’re not going
960                           to understand it. My company is called Prisoner’s Assistant, Lifetime
961                           Liberty Group. What we do is we manage the financial affairs for
962                           inmates and a note to you guys ‐ who cares they’re in prison ‐ but they
963                           want everything. They call every shot that’s on the outside. They, their
964                           just it’s, um, and what we do is we open the accounts for each client.
965                           We capture all their financial information. It’s all privileged. I, uh, you
966                           know we move money for them in and out all the time. We haven’t

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 967                           been able to grow because your government is fucking kicking me in the
 968                           balls ever since, but I am willing to turn it over and still be the head and
 969                           the CEO and you guys can use it as an information gathering tool. It has
 970                           8 years of, of um, of, of longevity. It has a great reputation. You know,
 971                           and maybe if you think that you could see your way to forgive me
 972                           whatever I may have done in the last 8 years and just give me a chance
 973                           at, you know, making a change and helping people. I could help
 974                           rehabilitate the way I want. You guys have free access to all the
 975                           information that comes through the door, whether it’s letters that could
 976                           be passed on this that and the other. There is a lot of high ranking gang
 977                           members. There’s a lot of people. The more market the more valuable
 978                           tool it becomes.

 979    JB:                    So what, what are you saying that you could provide?

 980    MB:                    I’m offering, I offer you, as my company grows to just I’ll offer I’ll give
 981                           the company to the FBI and I’ll run it as a puppet and it’s huge
 982                           information gathering tool. I mean huge. Something like you have never
 983                           even imagined. When people sell and buy drugs in prison, they call their
 984                           sister and they say, “oh send the money.” You guys never see it. You
 985                           never see it. It’s not to cash or to postal money order or whatever.
 986                           There’s so much transactions like that and it would be a filter for you to
 987                           keep the really bad people in.

 988    JB:                    How much money runs through your company?

 989    MB:                    Since I’ve been out? Millions, millions and we’ve been crushed and
 990                           kicked in the ass. If the government were to open, we, the federal
 991                           government blocked us and we won with a pro‐bono law firm – Winston
 992                           & Strawn – one of the biggest law firms in the United States and they
 993                           stepped up for me on that, and I won, and they let us back in. We’re in
 994                           the Feds big and if you just allow me to grow or if you just took the
 995                           company over help me grow. I’ll be the face. All I want to do is have a
 996                           job. All I want to do is have a job that pays money and that I can help
 997                           people. That’s what I fucking want to do. I mean, I’m sitting here today
 998                           too because that’s what I want to do and it’s my girlfriend’s dream and
 999                           she’s gone. I got nothing, bro, I’m not trying to go to the next level. You
1000                           think it’s a threat 20 years/30 years. I’m not, no, I’m not hanging out for
1001                           it.

1002    JB:                    I’m not, I’m not threatening.

1003    MB:                    I know you’re not but the reality is that’s what happened here. No
1004                           matter how this thing pans out, I’m going. I’m going forever. Forever
1005                           and a day. (Someone clearing throat) Your best case scenario saying
1006                           whatever, I know the Feds. I know how this works. I know. I can’t go in
1007                           as a rat period, so whatever you’re going to stack on me I’m going to go
1008                           to trial. So whatever you’re going to stack on me is going to be there.



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1009                           That, that’s it. There’s only two, two plays for me. Complete freedom no
1010                           charges or it’s going to take the ride.

1011    JB:                    I can’t offer you that.

1012    MB:                    But you didn’t, but you didn’t even consider the magnitude of what I
1013                           offered you just there.

1014    JB:                    The federal government is not going to run a business. FBI is not going
1015                           to run a business.

1016    MB:                    They, they don’t need to run a business. I, I’ll provide them all the
1017                           information. I’ll give them access to everything. What we, what we have
1018                           is you know is a monster gathering tool. It’s an information gathering
1019                           tool. I know a few guys you’re on the street doing your thing. The
1020                           people that are actually looking at gangs and looking at stuff, we see all
1021                           kinds of correspondences go through, all kinds of codes and all kinds of
1022                           things. Can you make me the call right now to see if you can offer it?

1023    JB:                    I’m not going to do that.

1024    MB:                    Really? But that’s more valuable than anything else that I have to say. I
1025                           mean God what I just offered you is more valuable than anything else I
1026                           have to bargain with.

1027    JB:                    Basically you’re talking about money laundering through your company.
1028                           (UI) (OV)

1029    MB:                    No, I didn’t, no, no I didn’t say (OV)…

1030    JB:                    No, no your prisoners are laundering their money for drug deals.

1031    MB:                    I am not even saying laundering money. I am actually saying really
1032                           purchasing drug deals. Ordering hits, whatever the fuck, they’re just
1033                           criminals continuing their criminal enterprise some of them.

1034    JB:                    Yeah, I understand.

1035    MB:                    But a lot of them are just out trying to, you know, build a little better life
1036                           for themselves.

1037    JB:                    Yeah.

1038    MB:                    But you know, you cast a net and you get what you get and I promise
1039                           you, in 10 years, you’ll have way more than you’ll have right here and it
1040                           doesn’t affect you guys. Can’t we just at least run by somebody that
1041                           might be able willing to talk about it?

1042    JB:                    Yeah. I’ll ask, I’ll ask.

1043    MB:                    But before I get arrested. As soon as you ‐


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1044    JB:                    No. Ok, you’re not going to be offered any immunity up front. I mean
1045                           that came straight from the man’s mouth. I just can’t, can’t offer it to
1046                           you. I’m sorry. I can’t do it.

1047    MB:                    I’m ok with that.

1048    JB:                    But I can promise you…(OV)

1049    MB:                    No (UI)

1050    JB:                    (UI) Now listen, I’m not going to make any promises to you at all but I’m
1051                           going to make one to you. I promise, I’ll promise you this and I told you
1052                           this is being recorded so I’m promising you this. Everything you do,
1053                           everything, we’re going to write down, we’re recording, we’ll give it to
1054                           you.

1055    MB:                    mmhmmm

1056    JB:                    And we’ll give it to your attorney. It would go to a court, and if you
1057                           provide some substantial assistance, I promise you we will go to the US
1058                           Attorney and he listens to us.

1059    MB:                    I know, absolutely.

1060    JB:                    And we will ask the US Attorney to petition the court for downward
1061                           departure on your behalf.

1062    MB:                    I know.

1063    JB:                    That’s the best that I can do for you.

1064    MB:                    I know and just (UI) (OV)

1065    JB:                    That’s the best I can do.

1066    MB:                    And I’m really not trying to be an asshole here.

1067    JB:                    I don’t think so.

1068    MB:                    I think, I think that I think you’re going to find that I’m not who you
1069                           want.

1070    JB:                    (Chuckles)

1071    MB:                    And I think that…

1072    JB:                    You’re probably right. I don’t think that you’re Al Capone.

1073    MB:                    But you’re destroying my life right now.

1074    JB:                    No, I’m not.

1075    MB:                    Because I, because I was sitting (UI)(OV)…

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1076    JB:                    I didn’t, I didn’t put you in that chair.

1077    MB:                    No, but I was just in the wrong car. You’re, you’re like I get you got
1078                           some heavy shit on your plate. I get it.

1079    JB:                    Ok, if you (OV)…

1080    MB:                    It doesn’t matter there’s only two things we, we can’t come to
1081                           agreement because for anything at all to work for me. I have to walk out
1082                           of here.

1083    JB:                    Yeah, well, I’m giving you a chance to take it back.

1084     MB:                   Take what back?

1085    JB:                    Everything.

1086    JB:                    To take, to take back your life as you‐as you have it but I can’t offer you
1087                           immunity up front. Now if you say ok and spill (UI)(OV)

1088    MB:                    Vomit? Jeff?

1089    JB:                    Yeah, if you vomit everything‐

1090    MB:                    Jeff, I’m not vomit, I’ll be very meticulous and give you the information
1091                           but, Jeff, if I can’t walk out of here, it can’t work. That’s it.

1092    JB:                    I told you. I just hung up with the man. He’s willing to, uh, to not charge
1093                           you with the ITSMV right now. He’s willing to do that and just let the
1094                           troopers charge you with the state charges for right now, under the
1095                           understanding that if you can’t hold your end of the bargain then will go
1096                           a grand jury.

1097    MB:                    Right, you’re going, you’re going to do what you got to do.

1098    JB:                    Right

1099    MB:                    I understand. The arrest is what I am worried about. The arrest ruins my
1100                           credibility with my company.

1101    JB:                    I, I understand.

1102    MB:                    This is to just no (UI) for me.

1103    JB:                    You, you own the company right?

1104    MB:                    In 60‐40.

1105    JB:                    Ok. Are you publicly traded?

1106    MB:                    Not yet.

1107    JB:                    Ok, well it’s not going to hurt you.

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1108    MB:                    It, the clients. Nobody wants to (UI).

1109    JB:                    Your clients are criminals.

1110    MB:                    But they, but they don’t want to hear that their, their, they’re not going
1111                           to put their money with somebody that, that just got arrested.

1112    JB:                    Who’s going to tell them?

1113    MB:                    It’s going to be in the fucking newspaper.

1114    JB:                    Nah.

1115    MB:                    You don’t when, when you Google my name, you’ll understand. It’s first
1116                           two pages, Google my name. My company is for seven pages of Google.
1117                           Anything that happens with me, is going to find when you put my name
1118                           in any arrest warrant it’s going to go right to the top, to the top and I
1119                           spent years learning how to do that and that’s what’s going to happen.
1120                           I’m going to be just fucking ruined.

1121    JB:                    I’m not putting anything in your arrest warrant unless you make us do it.
1122                           (OV)

1123    MB:                    But, but the trooper is. The trooper is.

1124    JB:                    Have you ever been arrested in North Carolina?

1125    MB:                    Yes (UI)

1126    JB:                    Where at?

1127    MB:                    Fayetteville.

1128    JB:                    Ok, by who?

1129    MB:                    I don’t remember.

1130    JB:                    Well the trooper is going to take a citation form out and he’s going to
1131                           write you a citation. No I’m sorry, he’s not. He’s gonna go see the
1132                           Magistrate and the Magistrate is going to type out a warrant in the state
1133                           of North Carolina. It’s not like it’s being broadcast on the 6 o’clock news.

1134    MB:                    Jeff this is…Can you make arrangements so that I can have a phone? I
1135                           can get bail bonds?

1136    JB:                    Yeah that, that yeah that will be (OV)

1137    MB:                    They’re not to (UI). Last time so they did they put up I’m out of state.
1138                           It’s a big problem. (OV)

1139    JB:                    They’ll let you use the phone here.

1140    MB:                    They didn’t last time.

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1141    JB:                    Well, yeah, when you go to the jail, we’ll (OV)…

1142    MB:                    No, in the jail they can’t because I have to call out of state and they
1143                           won’t their phones don’t let me so they won’t let me make the collect
1144                           call out of state.

1145    JB:                    You, you can call you have to call the bondsmen in North Carolina.

1146    MB:                    I know.

1147    JB:                    I’m not sure what you are asking.

1148    MG:                    Are you going to call somebody to get the money to the bondsmen from
1149                           North Carolina?

1150    MB:                    Yeah, I need all I have is $1,500 on me. I don’t have any credit cards or
1151                           nothing. That’s it and I’m sure it the judge is going to say more than
1152                           $1,500. Listen get me…

1153    JB:                    Well, $1,500 will be a $15,000 bond.

1154    MB:                    Right, but judge can’t take it. I have to get somebody to write the bond.

1155    JB:                    Right, but you can get bondsmen in North Carolina to write it for you.

1156    MB:                    Not today, not unless you help me.

1157    JB:                    No, no they’re open 24/7.

1158    MB:                    I didn’t get bail. Listen can we, can we do this? I believe that what I have
1159                           to offer you with my company is way more than what I have to offer you
1160                           in, in other regards. It’s out of your jurisdiction most of the things that I
1161                           know. Um (UI)

1162    JB:                    What? It’s not in the US?

1163    MB:                    No, it’s in the US but it’s not you guys particularly. You know, you’re
1164                           talking about there’s New York whatever. What do you think about
1165                           letting me bail out tonight? Helping me bail out tonight? I can get the
1166                           money wired. I can get whatever. Just, just give me a phone. Listen (OV)

1167    JB:                    I, I will ask them to let him use the phone.

1168    MB:                    mmhmm

1169    JB:                    We don’t have any control over bond. I’m not going to lie to you.

1170    MB:                    Yeah, I know that. I’m not worried whatever number that bond is. I can
1171                           bond myself out. It doesn’t matter. That’s not my concern. My concern
1172                           is being locked and not being able to do it because tomorrow is a
1173                           holiday.



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1174    JB:                    Well, I told you that we’re not going if, like I just said, if you decide that
1175                           you want to cooperate then we’re not going to ask for hold tonight.

1176    MB:                    What I have to say, what I have to say is going to take hours.

1177    JB:                    Did you hear what I said?

1178    MB:                    Yeah.

1179    JB:                    We’re not going to ask for a hold tonight if you agree to cooperate.

1180    MB:                    (Sighs) that’s not good enough Jeff, but thank you.

1181    JB:                    Yeah, but we’re not asking for a hold based upon you cooperating with
1182                           me.

1183    MB:                    C‐can you just let me go home for Thanksgiving you know? Can we set a
1184                           date? Can we try this?

1185    JB:                    I’m not, I’m not going to hold you here. I’m not doing it. The state of
1186                           North Carolina is going to charge you.

1187    MB:                    Can you just, can you just if you, if you feel that way and you believe
1188                           that can you just set up a meeting for me to talk to somebody about the
1189                           value of my company and whatnot like sometime next week? I will
1190                           come to whatever you want me to come to and I will do that.

1191    JB:                    Sure.

1192    MB:                    I just don’t want to, I want, I want to really wrap my head around what’s
1193                           happening here before I say a word.

1194    JB:                    Ok. Ok that’s fine.

1195    MB:                    So can we, can we play somewhere in the middle here? You help me.
1196                           You don’t put the thing up against me with the Feds. Let me bail out and
1197                           let’s just set a meeting for next week. It’s, so, I come over with, with my
1198                           attorney and we can speak and, and, and just get it all out. Everything
1199                           needs to get out but I want to have somebody that understands my, my
1200                           value.

1201    JB:                    Ok. Alright I understand your value.

1202    MB:                    No, not (OV)

1203    JB:                    But you’re not going to get anything up front.

1204    MB:                    So you’re going to leave and ask for the complaint?

1205    JB:                    That’s what it sounds like.

1206    MB:                    Alright gentlemen. I appreciate you. We won’t be seeing each other
1207                           again.

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1208    JB:                    Ok.

1209    MG:                    Yeah, we will.

1210    MB:                    Yeah but, we will, but it won’t be ‐

1211    JB:                    Yeah.

1212    MB:                    I wish it was different.

1213    JB:                    Yeah, me too. (Zipper sounds)

1214    MG:                    Me too. You seem like a good fellow. I’d like to sit and talk with you.

1215    MB:                    Yeah.

1216    JB:                    I got nothing, no animosity against you.

1217    MB:                    I know. I know it’s your job.

1218    JB:                    But we don’t, uh, we don’t charge people. We bring the facts to the US
1219                           Attorney and he charges people and now he’s told me…the man has
1220                           told me that there is no immunity up front.

1221    MB:                    I know. It’s the thing you’re about to do. You’re about to block me from
1222                           getting out of prison. You’re about to block me.

1223    JB:                    You mean the state custody?

1224    MB:                    Yeah.

1225    JB:                    Yeah, they may not let you out. They may hold you over here.

1226    MB:                    You don’t have to do that, is what I am saying.

1227    JB:                    Well, whether or not they hold you forever, I don’t know.

1228    MB:                    It doesn’t matter forever. It just I’m going to lose my holidays and my
1229                           name is going to be in the paper and whatever happens after that I’m
1230                           destroyed. It’s just what your what, whatever would have happened or
1231                           could have happened, it’s done.

1232    JB:                    Right. Well you don’t have to.

1233    MB:                    And you don’t have to do what you’re doing.

1234    JB:                    I, I, I offered you solution to not do that and you didn’t want to take
1235                           that.

1236    MB:                    I’m offering you to come into next week and, and come in and speak
1237                           with you.

1238    JB:                    No, no that’s not good enough.


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1239    MB:                             Ok, it’s not good enough.

1240    JB:                             Because by, by next week we’ll have talked to somebody else.

1241    MB:                             No you won’t. No. Jeff, Jeff Matt, you won’t, you’ll see. Good luck. You
1242                                    just don’t get it but you will. You’ll see what you’re about to unravel.

1243    JB:                             Alright.

1244    MB:                             Best of luck.

1245    JB:                             Well, I wish you’d unravel it for us, but ‐

1246    MB:                             I’m going to be the one that is going to get the most fucked out of it.

1247    MG:                             Nice to meet you Michael. Good luck.

1248    JB:                             Alright man, thank you.

1249    MB:                             Be good.

1250    (Door opens)

1251    MB:                             And please, don’t play dirty.

1252    JB:                             Oh I don’t. I’m not going to, I have no reason to.

1253    MB:                             Thank you.

1254    JB:                             I’m just going to do the facts here. That’s all I care about is the truth.
1255                                    Take care.

1256    MB:                             Take care.

1257    (Door shuts)

1258    MB:                             (Laughing) Well. Played that out alright didn’t we? (Sighs)

1259    16:34:05

1260    (Silence – Pacing – Drinking)

1261    16:35:27

1262    MB:                             Dirty, dirty mother fuckers (Laughing)

1263    16:37:05 (Knocking sound on the door and the door opens)

1264    OS:                             (UI) there’s somebody in there.

1265    MB:                             Oh the bathroom?

1266    OS:                             Just hang tight.



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1267    MB:                     mmhmmm

1268    (Door shuts)

1269    MB:                     (Yawns)

1270    16:38:59 (Door opens)

1271    OS:                     You need to go to the bathroom?

1272    MB:                     Yeah, yes.

1273    MB:                     Is this the Highway Patrol going to be ready or am I going to see
1274                            someone else to be processed?

1275    OS:                     Uh, you’ll have to go somewhere else to get processed. Yeah

1276    MB:                     What police are there? Your system here, it don’t want to give people
1277                            phone calls if it is only in to the county jail. Are you able to make a call?

1278    OS:                     Right

1279    MB:                     All my family and everybody is out of state.

1280    OS:                     Ok

1281    MB:                     I can’t make that call from there.

1282    OS:                     Ok

1283    MB:                     So it would be great…

1284    OS:                     We’ll try to get you one before we clear out.

1285    MB:                     Thank you

1286    OS:                     OK

1287    MB:                     But he has the phone numbers as well it was in my pocket

1288    OS:                     Ok, very good.

1289    MB:                     Thank you very much

1290    OS:                     Ok

1291    (Door closes)

1292    MB:                     (Sighs) well, well, well. Here we are. (UI) fucking (UI). (Yawns)

1293    (Silence)

1294    (Door opens)



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1295    16:50:03

1296    OS:                    Ok you ready?

1297    MB:                    Yeah.

1298    OS:                    Go ahead and turn around for me.

1299    MB:                    Um, about that phone call?

1300    OS:                    They’ll let you make one at the jail.

1301    MB:                    But I, I live out of state. Come on lieutenant I have been nothing but
1302                           nice to you guys. I understand that they think I am the biggest asshole
1303                           that ever was. If I don’t call my family at that county jail, they’re not
1304                           going to let me. It doesn’t call out of state.

1305    OS:                    Have you been in Asheville jail before?

1306    MB:                    Yes, I have unfortunately. Charges were dismissed.

1307    OS:                    Hold on a minute.

1308    MB:                    Thank you very much. Appreciate it.

1309    OS:                    Um, I was also under the assumption that you called from (UI).

1310    MB:                    They put in that holding room, where they put me in and they just hold
1311                           you there, they won’t let you call out of, out of.

1312    OS:                    Won’t let you call out of State?

1313    MB:                    No. Actually it’s Thanksgiving tomorrow, man. I just want my family, you
1314                           know.

1315    OS:                    I understand.

1316    MB:                    Because what they’re doing, is really fucked up. They’re just pressing me
1317                           to get the information that they want.

1318    OS:                    Who, who you talking to?

1319    MB:                    The Feds.

1320    OS:                    Oh, ok.

1321    MB:                    You know?

1322    OS:                    Ok.

1323    MB:                    There should be no arrest here. I did nothing. I got thrown out of a
1324                           fucking car on the highway.

1325    OS:                    Right.

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1326    MB:                    You know what I mean? There’s no, there’s no nothing. I didn’t do
1327                           nothing.

1328    OS:                    Ok.

1329    MB:                    You know?

1330    OS:                    I don’t. I wasn’t…

1331    MB:                    Yeah, I got thrown out of a car out on the fucking highway. Thrown,
1332                           kicked out, like this. Then they came with fucking assault rifles. I
1333                           understand they have a job to do. I understand. I understand, I’m (UI)
1334                           ignorant. I, I but you know to put me in for charges for this is just cr‐
1335                           cruddy move man. It’s not fair. It’s Thanksgiving. You know? I
1336                           cooperated, I gave them my name. I gave them everything they needed
1337                           to know. You know? It’s not fair and if they think they’re going to just
1338                           keep me here then they’re going to break me. I did 16 years in federal
1339                           prison, bro. I can never go back and be a rat. Never, never.

1340    OS:                    I understand that.

1341    MB:                    I offered them, just give me immunity. I’ll tell you whatever the fuck you
1342                           want to know. Whatever little pieces I can put together. That’s never
1343                           good enough and all they’re going to do is arrest me and they’re gonna
1344                           destroy my company, I’m the CEO of the fucking company. 8 years I’ve
1345                           been building it and this fucking stupid little arrest is going to destroy
1346                           me. This is so, and it’s a tactic to get me to cooperate. It’s really fucked
1347                           up. You know if you’re ever in that position Mr. Shelton, Officer Shelton,
1348                           just think about other people’s lives before you just turn that screw a
1349                           little too hard.

1350    OS:                    Oh, yeah I mean, you know I, I can’t comment on it because it’s not my ‐

1351    MB:                    No, I know but you, I am sure you’ll find yourself in similar positions and
1352                           I get it you got a job to do.

1353    OS:                    Right.

1354    MB:                    You want the answers. They have nothing. They got nothing. They’re
1355                           going to get no answers. They’re going to get nothing from whoever
1356                           they fucking think they’re going to talk to. They’re going to get nothing. I
1357                           was the best shot and now it’s done. Now I’m pissed just over it man.
1358                           This is ridiculous man and they just ruined my life again in the process.
1359                           Bail, fucking, whatever the fuck it is. Walking out of a stolen car. I don’t
1360                           even know what the fuck the charge is. It’s nothing.

1361    OS:                    Yeah.

1362    MB:                    You’re bailed out, 10 seconds and they’re going to block it with a federal
1363                           bullshit. Not a real indictment, not anything real.


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1364    OS:                              Right.

1365    MB:                              Just bullshit.

1366    OS:                              Just BS.

1367    MB:                              You know, goddamn it, you gotta case you wanna bring against me, do
1368                                     it.

1369    Officer hands MB a cell phone.

1370    MB:                              Oh, that’s a hell of a thing. Can I have that little piece of paper I had?

1371    Unknown Male:                    I don’t have it.

1372    MB:                              One, I’ll do that best that I can here. Where I will be going, sir?

1373    UM:                              Buncombe County Jail.

1374    MB:                              What’s it called?

1375    UM:                              Buncombe County Jail.

1376    MB:                              Buncombe County Jail in North Carolina.

1377    UM:                              Asheville

1378    UM (2):                          Asheville

1379    MB:                              I’m in Asheville. Asheville, North Carolina. Buncombe County Jail. Please
1380                                     answer god, please answer.

1381    UM:                              What’s the name on the piece of paper?

1382    MB:                              There’s no name. It’s just three numbers. It’s my sister’s number. See
1383                                     everything in a phone and I didn’t bring my phone. You know, so I
1384                                     don’t…

1385    UM:                              What’s the area code on it?

1386    MB:                              973‐871‐717. It’s New York, New Jersey.

1387    UM:                              973 is your area code?

1388    MB:                              973‐1718 or 914. I do have an attorney down here Michael Boose.

1389    UM:                              Ok.

1390    MB:                              But he’s in Fayetteville.

1391    UM:                              An attorney in Fayetteville?

1392    MB:                              Oh, that’s far away from here?


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1393    UM:                    It’s a pretty good lick, man.

1394    MB:                    Fuck.

1395    UM:                    Hours, probably five.

1396    MB:                    Bunghome County Jail?

1397    UM:                    Buncombe

1398    MB:                    Buncombe

1399    UM:                    Buncombe

1400    MB:                    Buncombe. Danielle? I’m very, very sorry to have you give you this call. I
1401                           love you. I’m in prison, um, short story is I was in a car and, uh, the cops
1402                           tried to pull ‘em over. I got thrown out onto the highway and they’re
1403                           arresting me for um, um I guess being in a stolen car or something. So
1404                           I’m in, I’m in North Carolina. Um, they’re going to take me to
1405                           Bunghome‐

1406    UM:                    Buncombe.

1407    MB:                    Buncombe, Buncombe County Jail. Get a paper and pen. I appreciate
1408                           this guys. Thank you. I know, happy Thanksgiving. I’m really sorry.
1409                           Bunghome, Buc spell, spell it to me Bui

1410    UM:                    Bun

1411    MB:                    Bun

1412    UM:                    Com

1413    MB:                    Yes Bun or M?

1414    UM:                    Bun

1415    MB:                    Bun “n” as in Nancy

1416    UM:                    Com

1417    MB:                    Com as in Michael

1418    UM:                    Be

1419    MB:                    Be. They’re taking me to Bunghome County Jail for, yes in North
1420                           Carolina, um, but it’s more than that. The Feds came in here. They’ve
1421                           been holding me since 11:00 in the morning, 11:30 um, the Feds came
1422                           here and they talked to me several times about some things, um, I
1423                           agreed to try to speak with them if they would give me immunity. They
1424                           told me no. They’re trying to put a case on me that’s, that’s, it’s a
1425                           monster but, but the words they were using was like life in prison
1426                           words, um, so, uh, they’re going to try to put a block on me with the

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1427                           Feds. That’s part of being bailed out. So what I need you to do is I need
1428                           you to get a credit card. I need you to get to a bail bondsmen in
1429                           Bunghome County North Carolina and I need you to bail me out as soon
1430                           as humanly possible. The bail’s not even set yet. I haven’t even been
1431                           processed yet but it will be whatever it will be, you can’t, it’s $20,000, I
1432                           don’t who the hell knows. It will be $20,000. It will be $2,000 cash, um,
1433                           there’s a lot of things in play right now and, um, I don’t know what’s
1434                           going to happen. People do what they do and it’s very imperative that I
1435                           get out of here as soon as humanly possible. You’re going to have to fly
1436                           down here. You’re going to have to call an attorney. This is a very, very
1437                           serious thing. These Feds were here and they were very, very serious.
1438                           They came from another state and I don’t know what the fuck half the
1439                           things they were talking about but they were very, very serious Danielle,
1440                           like much more serious then I was a kid. Like go to jail forever ever ever
1441                           never get out again, and it, it was very it was not fucking, it was not a
1442                           good feeling so right now they’re going, they’re going to you need to get
1443                           an attorney down here called Michael Boose. B‐o‐o‐s‐e, and he’s in,
1444                           um, he’s in Fayetteville. He probably won’t be the guy to handle this but
1445                           please, um, like I said this is what’s going to happen: They’re going to
1446                           take me right now to this Buncombe County Jail. They’re going to
1447                           process me. The bail is going to be very small. You have a small window
1448                           to get a bail bondsman to bail me out. And you have to explain this to
1449                           the bail bondsmen. It’s fucking, it’s Wednesday night before
1450                           Thanksgiving. He has to bail he has to pay them whatever they need to
1451                           be paid to bail me out. To get me on the street. You’re going to have to
1452                           fly down here because I have no transportation. Ummm and I know this
1453                           is what it is but this is, this is the most serious thing I could ever express
1454                           to you. Um, and they, they I don’t know. I don’t know what the car was
1455                           used for Danielle. I don’t know. I don’t know. I don’t know the answers.
1456                           I know what I know and what I know is not even good enough. It’s what
1457                           I know it’s good enough. So it’s serious and it’s not, if I am getting
1458                           myself out of prison and I’m getting myself out of this county jail
1459                           immediately they’re going, they’re going to fucking they’re going to put
1460                           the fucking crush on me and if that’s what comes then I don’t expect
1461                           anything. I’m just going to check out. Um, there is going to be a bond in
1462                           a minute. Who‐who did you call? Bunghome County…

1463    UM:                    Buncombe County Jail

1464    MB:                    Buncombe County Jail just keep calling them until you know, right now
1465                           immediately set yourself and put a (UI). They’re going to give you a little
1466                           problem because (cough) I’m out of state. Just sign what you got to sign
1467                           and get it all done. Get it all ready. Get money in their hands. Use credit
1468                           cards. Get money in their hands if you have to fly, get down get it done
1469                           cause the Feds right now as we speak I know what they’re going to do
1470                           putting a block on me because they’re trying to squeeze me. They’re
1471                           trying to make me talk and I offered to and they told me they told me
1472                           that they wouldn’t have immunity agreement so they want me to just

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1473                           talk and you know, you know that, I can never go back to‐ I offered to
1474                           talk. They told me no. They said I offered to talk with immunity
1475                           agreement and solve whatever the hell they wanted solved and they
1476                           told me no which means they have a case and they obviously don’t have
1477                           enough on the case to arrest to me. What they’re going to do is they’re
1478                           going to charge me with knowing interstate transportation of this
1479                           vehicle, um, which is all bullshit.

1480                           Um, but, but they’re going the Feds are going to put a hold on me so
1481                           you might have to get an attorney to start peeling it back. Tomorrow is
1482                           a holiday and Friday. This is what I cannot stress upon you. People are
1483                           going to panic, and they’re going to do whatever they do, and it could
1484                           have very adversely affect me. I’m the one that should be affected the
1485                           least. Ok? So no matter what has to happen, it’s, it’s a timing. You have
1486                           to get me out of here and then we can go into wherever fucking office
1487                           these retards are with a fucking attorney and fucking figure it out from a
1488                           position of strength and not from a position of being locked in a cell not
1489                           even knowing what the hell they want but what I need to tell you is
1490                           Michael Boose knows me. If you call Michael Boose he’s the one that
1491                           handled the other stuff. All charges dropped. You tell Michael Boose
1492                           what I told you that they’re coming with federal…Do you know what
1493                           they call that federal thing? A Federal Complaint. They’re going to try a,
1494                           the Feds are going to file a Federal Complaint that I, I was knowingly
1495                           whatever transporting a stolen good over state lines. Stolen cars, and
1496                           they’re going to put a hold on me. That hold has to be removed be
1497                           defeaten or whatever happens. Whatever Michael Boose tell them I’ll
1498                           handle it. Ok and, and the, and the bail. Right now as soon as I hang up
1499                           you I’m not even arrested yet you got to get on the on the phone the
1500                           bail bondsmen. Give them whatever verification they want. They’re
1501                           going to want some shit because you are out of state. Give them your
1502                           credit card. Give them whatever money. It’s going to be 2 or 3 thousand
1503                           probably. Wait for the bond to come through. Call the county jail and,
1504                           um, I don’t know if I’ll get to talk to you and when I’m gonna talk to you
1505                           so this is all on you. Get Aunt Donna. Get on the plane and I’m sorry
1506                           Thanksgiving got to be this way. I’m sorry that my life is this way and I
1507                           am sorry that disappoint you all of these million fucking times and, uh, I
1508                           did my best and a letter there’s a letter waiting for you at home.
1509                           Alright? Thank you.

1510    UM:                    Did you get it?

1511    MB:                    Yeah. I appreciate it guys. (Sighs)

1512    UM:                    Did you get somebody send some money to get out?

1513    MB:                    I have $1,500 cash on my body. You know what I mean? For a guy that.
1514                           (Laughs). Your guys are playing dirty man, ain’t nice.

1515    UM:                    You good there?


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1516    MB:                     Yeah, for now, but yeah it’s pretty tight though really for real. Is it
1517                            alright?

1518    UM:                     (UI)(UI)

1519    UM:                     Yeah come on.

1520    (Door opens)

1521    MB:                     FBI (UI) me?

1522    UM:                     (UI) transport ‐

1523    MB:                     Hey, Matt?

1524    MG:                     Yes?

1525    MB:                     Take care, man.

1526    MG:                     You too. (UI) your decision.

1527    MB:                     It was yours (UI) and you’re gonna regret it.

1528    17:01:55 (Door shuts)




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